                                                                      THE HONORABLE Timothy W. Dore
 1                                                                                       CHAPTER 13
                                                                       HEARING DATE: September 18, 2019
 2                                                                           HEARING TIME: 9:30 a.m.
                                                                                LOCATION: Seattle, WA
 3                                                                     RESPONSE DUE: September 11, 2019

 4
                                UNITED STATES BANKRUPTCY COURT
 5                              WESTERN DISTRICT OF WASHINGTON

 6
                                                          )    Case No.     19-11983 TWD Ch. 13
 7   In re:                                               )
          Cori Lee M. Perry                               )    NOTICE OF HEARING AND MOTION
 8                                                        )    TO AMEND/MODIFY CHAPTER 13
                                                          )    PLAN
 9   Debtor(s)                                            )
                                                          )
10                                                        )
      TO:    Clerk of the United States Bankruptcy Court; and All parties in interest:
11
     PLEASE TAKE NOTICE that a Motion to Amend Chapter 13 Plan IS SET FOR HEARING as follows:
12
               DATE OF HEARING                  September 18, 2019
13             TIME                             9:30 am

14             JUDGE                            Hon. Timothy W. Dore
               LOCATION                         US Courthouse
15                                              Courtroom 8106
                                                700 Stewart St. 8th Floor
16                                              Seattle, Washington 98101
               RESPONSE DUE                     September 11, 2019
17

18           IF YOU OPPOSE the motion you must file your written response with the court clerk,
19   and deliver copies to the undersigned and all interested parties NOT LATER THAN THE RESPONSE
     DATE.
20
             IF NO RESPONSE IS TIMELY FILED AND SERVED, the Court may, in its discretion,
21   GRANT THE MOTION PRIOR TO THE HEARING WITHOUT FURTHER NOTICE, and
22   strike the hearing.
                                                      MOTION
23

24           COMES NOW the Debtor, by and through their attorney of record, and moves the Court
     for an order modifying Debtor’s Chapter 13 Plan.
25




     NOTICE OF HEARING AND MOTION TO APPROVE DEBTOR’S AMENDED CHAPTER 13 PLAN
             Case Information: No plan has been confirmed
 1
             Reason For Amendment:
 2
             1. Removes Soos Creek claim from Section IV. C.1.;
 3
             2. Reduces monthly payment on Ocwen mortgage arrears claim to $0 in Section IV.C.1;
 4
             3. Increases monthly cure payment to Candlewood HOA to $100 per month in Section
                IV.C.1;
 5           4. Adds secured claim of IRS to Section IV.C.b;

 6
             How Creditors Will Be Affected: Plan proposes payment of to $0 to allowed, unsecured

 7
     non-priority claims.

 8           WHEREFORE, Debtor moves this Court for an Order Amending Debtor’s Chapter 13

 9   Plan.

10           DATED: August 16, 2019

11                                                       Respectfully submitted:
12                                                       /s/ Mark A. Ditton #45432     ______
                                                         Mark A. Ditton, WSBA#45432
13
                                                         Attorney for Debtor(s)
14
                                                         14900 Interurban Ave. S. #265
                                                         Seattle, WA 98168
15                                                       206-674-4602
                                                         mark@nwrelief.com
16

17                                   CERTIFICATE OF SERVICE

18          The undersigned certifies that a copy of the foregoing Motion to Amend/Modify Chapter
     13 Plan was served upon all Creditors and interested parties per the attached mailing matrix and
19   any parties requesting special notice by sending a true, full and exact copy enclosed in a sealed
     envelope by regular postage, prepaid, U.S. Mail, or, where specified, electronically:
20

21
     Served electronically:

22   Office of the U.S. Trustee;
     Jason Wilson-Aguilar; case trustee
23
     Lesley D Bohleber on behalf of Interested Party Courtesy NEF
24   ecfwawb@aldridgepite.com, llueke@ecf.inforuptcy.com

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     NOTICE OF HEARING AND MOTION TO APPROVE DEBTOR’S AMENDED CHAPTER 13 PLAN
     Brian J Hanis on behalf of Attorney Candlewood Ridge HOA
 1   bhanis@hiplawfirm.com
 2
     Dated this 16th Day of August, 2019.
 3
                                                    /s/Mark Ditton____
 4                                                  Mark Ditton WSB#45432
                                                    14900 Interurban Ave. S. #265
 5                                                  Seattle, WA 98168
                                                    206-674-4602 (office)
 6                                                  866-241-4176 (fax)
 7

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     NOTICE OF HEARING AND MOTION TO APPROVE DEBTOR’S AMENDED CHAPTER 13 PLAN
Label Matrix for local noticing      (p)BANK OF AMERICA                      Lesley D Bohleber
0981-2                               PO BOX 982238                           Aldridge Pite LLP
Case 19-11983-TWD                    EL PASO TX 79998-2238                   4375 Jutland Dr
Western District of Washington                                               San Diego, CA 92117-3600
Seattle
Fri Aug 16 13:55:32 PDT 2019
Bristol West Insurance               CC Holdings                             CW Nexus Credit Card Holdings l, LLC
PO Box 31029                         445 N. Pennsylvania St. Ste. 5          Resurgent Capital Services
Independence, OH 44131-0029          Indianapolis, IN 46204-1893             PO Box 10368
                                                                             Greenville, SC 29603-0368


Candlewood Ridge HOA                 Candlewood Ridge HOA                    Capital One, N.A.
Hanis Irvine Prothero, PLLC          PO Box 58397                            c/o Becket and Lee LLP
c/o Brian Hanis                      Renton, WA 98058-1397                   PO Box 3001
6703 South 234th St., Suite 300                                              Malvern PA 19355-0701
Kent, WA 98032-2903

Cedar River Water & Sewer District   Citibank                                Comcast
18421 SE Petrovitsky Road            Attn: Recovery/Centralized Bankruptcy   Bankruptcy Notices
Renton, WA 98058-0552                Po Box 790034                           PO Box 34744
                                     St Louis, MO 63179-0034                 Seattle, WA 98124-1744


Continental Finance Co               Credit One Bank                         Mark Ditton
Po Box 8099                          Attn: Bankruptcy Department             Northwest Debt Relief Law Firm
Newark, DE 19714-8099                Po Box 98873                            14900 Interurban Ave. S. Suite 265
                                     Las Vegas, NV 89193-8873                Seattle, WA 98168-4618


FST Premier                          Fingerhut                               First Premier Bank
3820 N. Louise Ave                   Attn: Bankruptcy                        Attn: Bankruptcy
Sioux Falls, SD 57107-0145           Po Box 1250                             Po Box 5524
                                     Saint Cloud, MN 56395-1250              Sioux Falls, SD 57117-5524


Genesis Bc/Celtic Bank               Brian J Hanis                           IRS
Attn: Bankruptcy                     Hanis Irvine Prothero PLLC              Central Insolvency Operations
Po Box 4477                          6703 South 234th St Ste 300             PO Box 7346
Beaverton, OR 97076-4401             Kent, WA 98032-2903                     Philadelphia, PA 19101-7346


Intergrity Law Group                 (p)JEFFERSON CAPITAL SYSTEMS LLC        Jefferson Capital Systems, LLC
2033 6th Ave. Ste. 920               PO BOX 7999                             Po Box 1999
Seattle, WA 98121-2526               SAINT CLOUD MN 56302-7999               Saint Cloud, MN 56302



Kernique                             Kohls/Capital One                       LVNV Funding
PO Box 1366                          Attn: Bankruptcy                        PO Box 10497
Hoboken, NJ 07030-1366               Po Box 30285                            Greenville, SC 29603-0497
                                     Salt Lake City, UT 84130-0285


LVNV Funding                         LVNV Funding, LLC                       MABTC/Tidewater Credit Services
c/o Resurgent Capital Services       Resurgent Capital Services              Attn: Bankruptcy
PO Box 112699                        PO Box 10587                            Po Box 13306
Greenville, SC 29603                 Greenville, SC 29603-0587               Chesapeake, VA 23325-0306
MATB/TFC                                             Merrick Bank/CardWorks                               MidAmerica Bank & Trust Company
PO Box 11743                                         Attn: Bankruptcy                                     Attn: Bankruptcy
Wilmington, DE 19850-1743                            Po Box 9201                                          216 West Second St
                                                     Old Bethpage, NY 11804-9001                          Dixon, MO 65459-8048


Midland Funding LLC                                  Ocwen Loan Servicing LLC                             Cori Lee M Perry
PO Box 2011                                          12650 Ingenuity Dr.                                  17918 158th Pl. SE
Warren MI 48090-2011                                 Orlando, FL 32826-2703                               Renton, WA 98058-9125



(p)PORTFOLIO RECOVERY ASSOCIATES LLC                 Premier Bankcard, Llc                                Puget Sound Energy
PO BOX 41067                                         Jefferson Capital Systems LLC Assignee               PO Box 91269
NORFOLK VA 23541-1067                                Po Box 7999                                          Bellevue, WA 98009-9269
                                                     Saint Cloud Mn 56302-7999


Puget Sound Energy                                   Resurgent Capital Services as agent for Via          Soos Creek Water & Sewer Distr
Vendor Collections Department -BOT-02G               Resurgent Capital Services                           14616 SE 192nd St.
PO Box 97034                                         PO Box 10587                                         Renton, WA 98058-9420
Bellevue, WA 98009-9734                              Greenville, SC 29603-0587


State Farm Insurance                                 Synchrony Bank/Amazon                                Synchrony Bank/Care Credit
PO Box 5000                                          PO Box 960013                                        Attn: Bankruptcy Dept
Dupont, WA 98327-5000                                Orlando, FL 32896-0013                               Po Box 965060
                                                                                                          Orlando, FL 32896-5060


(p)TIDEWATER FINANCE COMPANY                         U.S. Bank National Association                       U.S. Department of Education
P O BOX 13306                                        c/o PHH Mortgage Corporation                         Ecmc/Bankruptcy
CHESAPEAKE VA 23325-0306                             1 Mortgage Way, Mail Stop SV-22                      Po Box 16408
                                                     Mt. Laurel, NJ 08054-4637                            Saint Paul, MN 55116-0408


US Dept of Education                                 USAA Federal Savings Bank                            United States Trustee
Attn: Bankruptcy                                     10750 McDermott Fwy                                  700 Stewart St Ste 5103
Po Box 16448                                         San Antonio, TX 78288-1600                           Seattle, WA 98101-4438
Saint Paul, MN 55116-0448


Waste Managment                                      Webbank/Gettington                                   Western Progressive
2625 W. Grandview Rd.                                Attn: Bankruptcy                                     3600 15th Avenue West, Ste. 20
Phoenix, AZ 85023-3109                               6250 Ridgewood Rd                                    Office C
                                                     Saint Cloud, MN 56303-0820                           Seattle, WA 98119-1330


Jason Wilson-Aguilar
600 University St #1300
Seattle, WA 98101-4102




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).
Bank of America                                       (d)Continental Finance Company                       Jefferson Capital Systems LLC
PO Box 982238                                         Attn: Bankruptcy                                     Po Box 7999
El Paso, TX 79998                                     Po Box 8099                                          Saint Cloud Mn 56302-9617
                                                      Newark, DE 19714


Portfolio Recovery                                    (d)Portfolio Recovery Associates, LLC                Tidewater Finance Company
Attn: Bankruptcy                                      POB 41067                                            P.O. Box 13306
120 Corporate Blvd                                    Norfolk VA 23541                                     Chesapeake, VA 23325
Norfold, VA 23502




                  The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Courtesy NEF                                       (d)Jason Wilson-Aguilar                              End of Label Matrix
                                                      600 University St #1300                              Mailable recipients   54
                                                      Seattle, WA 98101-4102                               Bypassed recipients    2
                                                                                                           Total                 56
